

Matter of Muser v Muser (2021 NY Slip Op 01332)





Matter of Muser v Muser


2021 NY Slip Op 01332


Decided on March 04, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 04, 2021

Before: Renwick, J.P., Mazzarelli, Kennedy, Shulman, JJ. 


Index No. 500123/2019 Appeal No. 13273 Case No. 2020-03080 

[*1]In the Matter of Howard Muser, Petitioner, for the Appointment of a Guardian for the Person and Property of Judith Brook, an Alleged Incapacitated Person, Adam Brook, Petitioner-Appellant,
vHoward Muser, Petitioner-Respondent.


Rachel Schulman, PLLC, Great Neck (Rachel Schulman of counsel), for appellant.
Huth Reynolds, LLP, Huntington (Karl Huth of counsel), for respondent.



Appeal from order, Supreme Court, New York County (Kelly O'Neill Levy, J.), entered January 3, 2020, insofar as it appointed a temporary independent Guardian for the Alleged Incapacitated Person (AIP) and vacated her 2006 power of attorney and health care proxy in favor of appellant Adam Brook, unanimously dismissed, without costs, as moot.
The AIP died on March 15, 2020, during the pendency of this appeal. Her death rendered this appeal, which concerns the appointment of a guardian of her person and property, moot (see Matter of Klasson,  290 AD2d 223 [1st Dept 2002]).
Appellant argues that the adverse finding concerning his handling of the AIP's affairs will affect him in the future, but he fails to indicate how he will be adversely affected. Any issues concerning the future award of fees to the temporary guardian may be raised in the event of an appeal of that award.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 4, 2021








